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DISTRICT COURT
AO 245D (Rev. 02/18) Judgment in a Criminal Case for Revocations U.S. DISTRICT &

Sheet | BISTRICT OF VERMENT
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UNITED STATES DISTRICT COURT 291g HOY 30 -PM 3:58

District of Vermont CAR
UNITED STATES OF AMERICA Judgment in a Criminal Case BY Gy

Vv. (For Revocation of Probation or Supervised Relgage} |) Y L048

LAURA BERARD
Case No, 2:16-cr-080-2

USM No, 94458-082
Steven Barth, AFPD

dant’s A
THE DEFENDANT: Seen eae
Wi admitted guilt to violation of condition(s) Mandatory Condition 3 of the term of supervision.
O was found in violation of condition(s) count(s) after denial of guilt.

The defendant is adjudicated guilty of these violations:

Violation Number Nature of Violation Violation Ended
1 Dft used cocaine base as evidenced by admission to USPO 3/5/2018

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i“ :

The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

{) The defendant has not violated condition(s) and is discharged as to such violation(s) condition.

It is ordered that the defendant must notify the United States attorney for this district within 30 daysofany
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are

fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in
economic circumstances.

Last Four Digits of Defendant’s Soc. Sec. No.: 0238 11/30/2018

Date.ofhmposjtion of Judgment

Defendant’s Year of Birth: 1961 —

City and State of Defendant’s Residence:
Burlington, Vermont

Christina Reiss, U.S. District Judge

JUDGMENT ENTERED ON DOCKET Name and Title of Judge
DATE: (2° 3-18 11/30/2018

Date

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AO 245D (Rev. 02/18) — Judgment in a Criminal Case for Revocations
Sheet 2— Imprisonment

Judgment — Page _ 2 of

DEFENDANT: LAURA BERARD
CASE NUMBER: 2:16-cr-080-2

IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of:

time served

QO The court makes the following recommendations to the Bureau of Prisons:

O The defendant is remanded to the custody of the United States Marshal.

Ol The defendant shall surrender to the United States Marshal for this district:

O at O am. O pm. on

O as notified by the United States Marshal.

Ol The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

before 2 p.m. on

O as notified by the United States Marshal.
Olas notified by the Probation or Pretrial Services Office.

RETURN
| have executed this judgment as follows:
Defendant delivered on to
at with a certified copy of this judgment.
UNITED STATES MARSHAL
By

DEPUTY UNITED STATES MARSHAL

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AO 24SD (Rev. 02/18) Judgment in a Criminal Case for Revocations
Sheet 3 — Supervised Release

Page 3 of 3

DEFENDANT: LAURA BERARD
CASE NUMBER: 2:16-cr-080-2
SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of :

no term of supervised release is imposed.

MANDATORY CONDITIONS

1. You must not commit another federal, state or local crime.
You must not unlawfully possess a controlled substance.

Wh

Judgment—Page

from imprisonment and at least two periodic drug tests thereafter, as determined by the court.

C) The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future

substance abuse. (check if applicable)

4, C1 You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of

restitution. (check if applicable)

5. O You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)

6. Ol You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 2090], ef seq.)
as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location

where you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7. © You must participate in an approved program for domestic violence. (check if applicable)

You raat comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
attached page.

3

of

You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release
